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                         IN UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

 JANINE LAVIGNE,

         Plaintiff,

 vs.                                                             No. 1:15-cv-00934-KWR-LF

 FIRST COMMUNITY BANCSHARES, INC.
 and FIRST NATIONAL BANK TEXAS,

         Defendants.


                                ORDER APPROVING
                       STIPULATION OF VOLUNTARY DISMISSAL

       Upon consideration of the Stipulation of Voluntary Dismissal (Doc. 223), for the reasons

set forth in the Order Granting Motion to Approve Voluntary Dismissal (Doc. 231), and the Court

having held a Final Approval Hearing on December 14, 2021, the voluntary dismissal without

prejudice is APPROVED pursuant to Fed. R. Civ. P. 23(e) and this matter is DISMISSED

WITHOUT PREJUDICE. All parties to bear their own costs, including attorney’s fees.

       The Class Representative SHALL POST a signed copy of this Order on the class website.

www.lavigneclass.com.

       IT IS SO ORDERED.



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                                                   KEA W. RIGGS
                                                   UNITED STATES DISTRICT JUDGE
